 

U.S. District Court
Wisconsin Easiem

JUN 19 2019

COMPLAINT

(for filers who are prisoners without lawyejs)

 

 

ILED

 

 

 

Fl
UNITED STATES DISTRICT COURME-Sieeten &- Dies. Stork
EASTERN DISTRICT OF WISCONSIN |

 

(Full name of plaintiff(s))

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Vv. Case Number:

(Full name of defendant(s)) | q ~ Cc ~ 4 Ol’

rf oe (to be supplied by Clerk of Court)
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A. PARTIES
1. Plaintiff is a citizen of — UWS OSA __, and is located at
(State)
LOO Srudin Yack Avent Mondor U5. 4530 Troost Conte Si |
(Address of prison or jail) S

(If more than one plaintiff is filing, use another piece of paper.)

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2. Defendant (Wu sulve Caste a
- (Name)
is (if a person or private corporation) a citizen of

 

Complaint — 1
Case 2:19-cv-00906-WED Filed 06/19/19 Page 1o0f5 Document 1
Ait Ry 4 . (State, if known)
and (if a person) resides at_ “UG \) OX) Jeoeeke Vu theo cis. 532.33
P

 

(Address, if known)
and (if the defendant harmed you while doing the defendant’s job)
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(Employer’s name and address, if known)
(If you need to list more defendants, use another piece of paper.)

B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:

 

1. Who violated your rights;

2. What each defendant did;

3. When they did it;

4. Where it happened; and

5. Why they did it, if you know.

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Complaint — 2
Case 2:19-cv-00906-WED Filed 06/19/19 Page 20f5 Document 1
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Complaint — 3
Case 2:19-cv-00906-WED Filed 06/19/19 Page 30f5 Document 1
C. JURISDICTION

[| Iam suing for a violation of federal law under 28 U.S.C. § 1331.
OR

Iam suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
aioe at stake in this case (not counting interest and costs) is

100,006
D. | RELIEF WANTED

Describe what you want the Court to do if you win your lawsuit. Examples may
include an award of money or an order telling defendants to do something or to

stop doing something.

 

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how to handle thus type of Situation

 

 

Complaint — 4
Case 2:19-cv-00906-WED Filed 06/19/19 Page 4o0f5 Document 1
E. JURY DEMAND

I want a jury to hear my case.

er yves [~]-No

I declare under penalty of perjury that the foregoing is true and correct.
Complaint signed this __|' | day of Tu Qe 2014.

Respectfully Submitted,

 

 

~~ Signature of Plaintiff
Lit
(aT
Plaintiff’s Prisoner ID Number

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(Mailing Address of Plaintiff)
(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FULL FILING FEE

1 DO request that I be allowed to file this complaint without paying the filing fee.
Ihave completed a Request to Proceed in District Court without Prepaying the
Full Filing Fee form and have attached it to the complaint.

 

IDO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this

complaint.

Complaint — 5

Case 2:19-cv-00906-WED Filed 06/19/19 Page 5of5 Document 1
